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                         UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
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     KEITH BERMAN,                   ) Case No. EDCV 19-7079-PSG (JPR)
12                                   )
                        Plaintiff,   )
13                                   ) CASE MANAGEMENT ORDER
                 v.                  )
14                                   )
     ANDREW SAUL, Commissioner       )
15   of Social Security,             )
                                     )
16                                   )
                       Defendant.    )
17
18       In accordance with Local Rule 5-4, this case is designated
19 for electronic filing. In order to facilitate the just, speedy,
20 and inexpensive determination of this case, the parties must
21 comply with the following instructions. Please read this order
22 carefully, as it may differ from other judges’ orders for Social
23 Security appeals.
24 I.   Service of the Summons, Complaint, and Notice of
25      Appearance
26       Plaintiff must promptly serve the summons and complaint on
27 the Commissioner in the manner required by Federal Rule of Civil
28 Procedure 4(i) and 20 C.F.R. § 423.1. Plaintiff must

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 1 electronically file a proof of service showing compliance with
 2 this paragraph within 30 days of the date of this order or as
 3 soon as service is timely completed.1          Government counsel must
 4 file and serve a notice of appearance within 30 days of service
 5 of the action.2
 6 II.    Motion to Dismiss
 7        Any motion to dismiss the complaint should be electronically
 8 filed.     Any opposition or notice of nonopposition must be filed
 9 within 30 days of service of the motion; any reply must be filed
10 within 14 days of service of the opposition.           The motion will be
11 deemed submitted on the basis of the papers timely filed, without
12 oral argument, unless the Court orders otherwise.            See Fed. R.
13 Civ. P. 7, 12; C.D. Cal. Rs. 7, 12.          Chambers copies of all
14 motion papers (including the opposition and reply), with the
15 Notice of Electronic Filing attached, must either be (a)
16 delivered to the Magistrate Judge’s Chambers no later than 4 p.m.
17 the next court day or (b) mailed to U.S. Magistrate Judge Jean
18 Rosenbluth at Roybal Courthouse, Courtroom 690, 255 East Temple
19 Street, Los Angeles, CA 90012, no later than the next court day.
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22        1
              If this Case Management Order is electronically filed
23   before service of the summons and complaint, Plaintiff must serve
     a copy of this order concurrently with the summons and complaint.
24   If this order is electronically filed after service of the summons
     and complaint, Plaintiff must serve a copy of it by first-class
25   mail on the Office of the U.S. Attorney within 14 days of the date
26   the order is electronically filed, and Plaintiff must promptly
     electronically file a proof of service with the Court.
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              The filing of consent to proceed before the magistrate
28 judge will serve as a notice of appearance.
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 1 III. Service of Administrative Record and Notice Thereof
 2       The Commissioner has 90 days from the date of service of the
 3 complaint in which to serve a complete copy of the certified
 4 administrative record on Plaintiff.
 5 IV.   Mandatory Settlement Procedures
 6       The parties must engage in good-faith settlement
 7 negotiations to resolve the matter, according to the following
 8 schedule.
 9       A.    Within 14 days of service of a copy of the
10 administrative record, Plaintiff must prepare and email to
11 government counsel a detailed settlement proposal.
12       B.    Within 21 days of receipt of the written settlement
13 proposal, the Commissioner must evaluate the merits of
14 Plaintiff’s contentions and email a response to Plaintiff’s
15 proposal.    The parties are encouraged to engage in further
16 written or telephonic discussions regarding the issues on appeal.
17       C.    Within seven days of service on Plaintiff of the
18 Commissioner’s written response to the settlement proposal, one
19 of the following must occur:
20             1.    The parties electronically file a stipulation
21       dismissing, remanding, or otherwise resolving the case;
22             2.    The parties electronically file a Joint Status
23       Report advising the Court that they are exercising their
24       option to extend the due dates an additional 14 days for
25       continued settlement discussions (such extension is
26       automatic upon filing of the Joint Status Report).           Within
27       14 days after the electronic filing of a Joint Status
28       Report, the parties must comply with either paragraph 1 or

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 1       3; or,
 2             3.    The Commissioner electronically files an answer
 3       (or a noticed motion to dismiss or remand) and manually
 4       files the certified administrative record with the Clerk.                A
 5       Notice of Manual Filing of the Administrative Record must be
 6       electronically filed.
 7 V.    Joint Stipulation
 8       If the parties cannot resolve the matter in settlement
 9 discussions (and there is no motion to dismiss or remand
10 pending), the parties must electronically file a Joint
11 Stipulation according to the schedule set forth below.            The
12 parties must cooperate in preparing the Joint Stipulation, and
13 sanctions may be imposed for any failure to cooperate.            A Joint
14 Stipulation that is not signed by counsel for both parties may be
15 rejected and stricken by the Court.         A Joint Stipulation that is
16 electronically filed but is not prepared in the manner required
17 by this order may be stricken, in which event the parties will be
18 required to cure the defects by electronically filing an Amended
19 Joint Stipulation.
20 VI.   Content of Joint Stipulation
21       The Joint Stipulation must include a brief summary of the
22 case, the parties’ positions with respect to the Administrative
23 Law Judge’s summary of the material medical evidence and
24 testimony of record, a statement of the disputed issues, the
25 parties’ contentions as to each disputed issue, and the parties’
26 statements of the relief requested.
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 1 VII. Schedule for Preparation and Filing of Joint Stipulation
 2       The Joint Stipulation must be prepared and electronically
 3 filed according to the following schedule:
 4       A.    Within 35 days of the filing of the Answer, Plaintiff’s
 5 counsel must prepare and deliver to government counsel a draft of
 6 Plaintiff’s portions of the Joint Stipulation (not to exceed a
 7 total of 25 pages, see C.D. Cal. R. 11-6) in an appropriate
 8 electronic format.      NOTE: Plaintiff’s attorney is responsible for
 9 providing Plaintiff’s portion of the joint submission to
10 government counsel in a timely manner without reminder or
11 prompting from the government.        If Plaintiff fails to comply with
12 the terms of this order, government counsel may file a brief
13 notice of noncompliance to inform the Court of the status of the
14 action.    The Court will consider a full range of remedial actions
15 for violative conduct.
16       B.    Within 35 days of the date on which Plaintiff’s counsel
17 provides government counsel with the draft of Plaintiff’s
18 portions of the Joint Stipulation, the Commissioner must provide
19 to Plaintiff’s counsel the Commissioner’s portions of the Joint
20 Stipulation (not to exceed 25 pages) in an appropriate electronic
21 format.    Government counsel must state in this document that the
22 parties previously engaged in the mandatory settlement process.
23       C.    If desired, Plaintiff will have 14 days to provide
24 government counsel with an optional reply (not to exceed 10
25 pages).    Plaintiff may not use the reply to raise new issues the
26 Commissioner has not had an opportunity to address.
27       D.    Government counsel will have seven days to
28 electronically file the joint submission.          A chambers copy of the

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 1 Joint Stipulation, with the Notice of Electronic Filing attached,
 2 must either be (a) delivered to the Magistrate Judge’s Chambers
 3 no later than 4 p.m. the next court day or (b) mailed to U.S.
 4 Magistrate Judge Jean Rosenbluth at Roybal Courthouse, Courtroom
 5 690, 255 East Temple Street, Los Angeles, CA 90012, no later than
 6 the next court day.
 7 VIII.Requests for Extensions of Time
 8       As in any civil action in this Court, the parties are
 9 strongly encouraged to seek relief from the timing provisions of
10 this order in advance of any deadlines.         Whenever possible, a
11 request for extension of time should be made in the form of a
12 proposed stipulated order.
13 IX.   Oral Argument
14       Unless otherwise ordered, the issues presented in any Joint
15 Stipulation will be submitted for decision without oral argument.
16 X.    Motions and Petitions for Attorney Fees
17       A.    Equal Access to Justice Act
18             1.    Any motion or petition for attorney fees, costs,
19       and expenses must be made in accordance with 28 U.S.C.
20       § 2412 (EAJA).
21             2.    The Commissioner has 21 days from the date of
22       electronic filing of the motion or petition within which to
23       electronically file the Commissioner’s position with respect
24       to the motion or petition.
25             3.    If the Commissioner believes a possibility exists
26       of arriving at a settlement with Plaintiff of the fees,
27       costs, and expenses, the parties should electronically file
28       a stipulation to extend the time for the Commissioner to

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 1       file opposition to give the parties an opportunity to
 2       discuss settlement.      Any such stipulated extension must be
 3       electronically filed before the Commissioner’s opposition is
 4       due, and the stipulated extension should be for no more than
 5       30 days.
 6             4.     Assuming there is no extension to discuss
 7       settlement or that no settlement is reached after such an
 8       extension, Plaintiff may electronically file a reply to the
 9       Commissioner’s opposition within 10 days of service of the
10       opposition.
11             5.     After electronically filing a document under this
12       section, a chambers copy with the Notice of Electronic
13       Filing attached must either be (a) delivered to the
14       Magistrate Judge’s Chambers no later than 4 p.m. the next
15       court day or (b) mailed to U.S. Magistrate Judge Jean
16       Rosenbluth at Roybal Courthouse, Courtroom 690, 255 East
17       Temple Street, Los Angeles, CA 90012, no later than the next
18       court day.
19             6.     The matter will stand submitted for decision
20       under Local Rule 7-15 as of the date of the last
21       filing.
22       B.    42 U.S.C. § 406(b)
23             1.     Any motion or petition for attorney fees under 42
24       U.S.C. § 406(b) must be made by Plaintiff’s counsel within a
25       reasonable time after the publication of a notice by the
26       Commissioner allowing the Court to determine the maximum
27       allowable fee under that provision.         The motion or petition
28       must include a statement by Plaintiff’s counsel indicating

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 1       the amount of EAJA fees or 42 U.S.C. § 406(a) fees awarded
 2       or requested.
 3             2.     Plaintiff’s counsel should state in the notice of
 4       motion that Plaintiff may file any statement or opposition
 5       not more than 14 days after service of the motion or
 6       petition and that any statement or opposition filed by
 7       Plaintiff should be served on both Plaintiff’s counsel and
 8       government counsel.
 9             3.     The Commissioner must electronically file any
10       response or opposition not more than 14 days after service
11       of the motion or petition and also manually serve a copy on
12       the Plaintiff.
13             4.     Plaintiff’s counsel may electronically file a
14       reply in support of the motion or petition within seven days
15       of service of any response or opposition and must manually
16       serve a copy on the Plaintiff.
17             5.     After electronically filing a document under this
18       section, a chambers copy with the Notice of Electronic
19       Filing attached must either be (a) delivered to the
20       Magistrate Judge’s Chambers no later than 4 p.m. the next
21       court day or (b) mailed to U.S. Magistrate Judge Jean
22       Rosenbluth at Roybal Courthouse, Courtroom 690, 255 East
23       Temple Street, Los Angeles, CA 90012, no later than the next
24       court day.
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 1              6.   The matter will stand submitted for decision
 2       under Local Rule 7-15 as of the date the last filing is
 3       due.
 4
 5 DATED: August 20, 2019                        /s/
                                       JEAN ROSENBLUTH
 6                                     U.S. MAGISTRATE JUDGE
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